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                       EXHIBIT A

                     Proposed Order
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                              )
In re:                                                        )    Chapter 11
                                                              )
ENERGY FUTURE HOLDINGS CORP., et al.,1                        )    Case No. 14-10979 (CSS)
                                                              )
                          Debtors.                            )    (Jointly Administered)
                                                              )

                        ORDER AUTHORIZING THE DEBTORS
                  TO (A) PAY CERTAIN PREPETITION AMOUNTS ON
              ACCOUNT OF THE INSIDER COMPENSATION PROGRAMS
            AND (B) CONTINUE THE INSIDER COMPENSATION PROGRAMS
         IN THE ORDINARY COURSE OF BUSINESS ON A POSTPETITION BASIS


         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”), for entry of an order (this “Order”) authorizing the

Debtors to: (a) pay certain prepetition amounts owed under the Debtors’ Insider Compensation

Programs and (b) continue the Insider Compensation Programs in the ordinary course of business

on a postpetition basis, all as more fully set forth in the Motion; and upon the First Day

Declaration, the Friske Declaration, and the Filsinger Declaration; and the Court having found

that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court

having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to

28 U.S.C. §§ 1408 and 1409; and the Court having found that the relief requested in the Motion

is in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and the

1   The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
    debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
    chapter 11 cases, which are being jointly administered, a complete list of the debtors and the last four digits of
    their federal tax identification numbers is not provided herein. A complete list of such information may be
    obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.
2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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Court having found that the Debtors provided appropriate notice of the Motion and the

opportunity for a hearing on the Motion under the circumstances; and the Court having reviewed

the Motion and having heard the statements in support of the relief requested therein at a hearing,

if any, before the Court (the “Hearing”); and the Court having determined that the legal and

factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court; and after due deliberation and

sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

          1.    The Motion is granted as set forth herein.

          2.    The Debtors are authorized to pay all outstanding prepetition amounts accrued in

the ordinary course of business on account of the Insider Compensation Programs as requested in

the Motion.

          3.    The Debtors are authorized to continue the Insider Compensation Programs in the

ordinary course of business on a postpetition basis as requested in the Motion.

          4.    Notice of the Motion as provided therein shall be deemed good and sufficient and

the requirements of the Bankruptcy Rules and the Local Bankruptcy Rules are satisfied by such

notice.

          5.    Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,

9014 or otherwise, the terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

          6.    The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

          7.    The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.


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Wilmington, Delaware
Dated: _____________, 2014

                                 THE HONORABLE CHRISTOPHER S. SONTCHI
                                 UNITED STATES BANKRUPTCY JUDGE




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